
398 Pa. 505 (1960)
Pierce Estate.
Supreme Court of Pennsylvania.
Argued January 6, 1960.
March 15, 1960.
*506 Before JONES, C.J., BELL, MUSMANNO, JONES, COHEN, BOK and EAGEN, JJ.
Israel Packel, with him Arthur Packel, and Speiser, Satinsky, Gilliland &amp; Packel, for appellant, executrix.
Roland Fleer, for appellee.
OPINION PER CURIAM, March 15, 1960:
Decree affirmed on the opinion of President Judge TAXIS, 20 Pa. D. &amp; C. 2d 51. Costs on appellant.
